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Attorney for Robert E. Atkinson, Trustee

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF NEVADA

In re: Case No. 21-14486-abl
Chapter 7
INFINITY CAPITAL MANAGEMENT, INC.
dba INFINITY HEALTH CONNECTIONS; DECLARATION OF
ROBERT E. ATKINSON
Debtor.

 

I, Robert E. Atkinson, hereby declare as follows:

1. Iam over the age of 18 and have personal knowledge of the facts stated herein.
Such personal knowledge is based upon the records obtained in this case, my own
investigations, and discussions with my counsel. I am competent to testify to the same.

2. I make this Declaration in support of my Reply, filed contemporaneously
herewith.

3. | HASelect and Tecumseh have been cooperating for weeks to identify a servicer
for the Tecumseh Receivables, including a tacit agreement to set aside all recoveries pending
the outcome of the AP Case, via escrow or some other mechanism. A proposal from a
servicer dated October 2021 was circulated by HASelect’s counsel to Tecumseh’s counsel on
November 19, 2021. That proposal included a one-time up-front fee of $30,000.

4. HASelect has expressly represented to me that if they are the winning bidder,
they will set aside all recoveries (after the costs of a servicer are deducted), pending the
outcome of the AP Case. I have no issue with the Court making this set-aside a condition of

the sale, to address any lingering/latent adequate protection issues.

 

 
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5. The APA was negotiated between HASelect and me at arms-length, with lots of
back-and-forth regarding terms. No fraud or collusion exists in the proposed sale, and
HASelect does not have a grossly unfair advantage over other bidders.

HEE #

I declare under penalty of perjury that the foregoing is true and correct, to the best of my

knowledge, information, and belief. oy, x
/; ( CO

ROBERT E. ATKINSON

 

 
